     Case 2:07-cr-20168-JWL       Document 1675      Filed 02/25/15    Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF KANSAS

United States of America,

                    Plaintiff,

v.                                                           Case No. 07-20168-24-JWL


Franklin Goodwin Jr.,

                    Defendant.

                                 MEMORANDUM & ORDER

      This matter is before the court on Mr. Goodwin’s pro se motion for reduction of sentence

pursuant to 18 U.S.C. § 3582(c)(2) in which Mr. Goodwin asks the court to reduce his sentence

based on Amendment 782 to the United States Sentencing Guidelines. The motion is dismissed

as the court lacks the authority to revise Mr. Goodwin’s sentence based on Amendment 782.

Federal courts, in general, lack jurisdiction to reduce a term of imprisonment once it has been

imposed. Freeman v. United States, ––– U.S. ––––, 131 S. Ct. 2685, 2690 (2011). “A district

court does not have inherent authority to modify a previously imposed sentence; it may do so

only pursuant to statutory authorization.” United States v. Smartt, 129 F.3d 539, 540 (10th Cir.

1997). Under limited circumstances, modification of a sentence is possible under 18 U.S.C. §

3582(c).   That provision states that “a defendant who has been sentenced to a term of

imprisonment based on a sentencing range that has subsequently been lowered by the

Sentencing Commission” may be eligible for a reduction, “if such a reduction is consistent with

applicable policy statements issued by the Sentencing Commission.” 18 U.S.C. § 3582(c)(2).

Mr. Goodwin’s sentence was not “based on a sentencing range” but, instead, was based on a
      Case 2:07-cr-20168-JWL      Document 1675       Filed 02/25/15    Page 2 of 2




mandatory statutory minimum under 21 U.S.C. § § 841(b)(1)(A) and 851. The court, then, has

no jurisdiction to reduce Mr. Goodwin's sentence. Because Mr. Goodwin remains subject to the

mandatory minimum sentence of life imprisonment regardless of the application of Amendment

782, a reduction under § 3582(c)(2) is not authorized and Amendment 782 affords no relief to

Mr. Goodwin. See United States v. Woods, ___ Fed. Appx. ___, 2015 WL 250647, at *1-2

(10th Cir. Jan. 21, 2015) (if a defendant is sentenced pursuant to a statutory mandatory

minimum sentence provision, he is ineligible for a sentence reduction under § 3582(c)(2)).1



       IT IS THEREFORE ORDERED BY THE COURT THAT Mr. Goodwin’s motion for

reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2) (doc. 1674) is dismissed for lack of

jurisdiction.



       IT IS SO ORDERED.



       Dated this 25th day of February, 2015, at Kansas City, Kansas.



                                                s/ John W. Lungstrum
                                                John W. Lungstrum
                                                United States District Judge



1
 Mr. Goodwin maintains in his motion that this court has exercised its discretion to reduce the
sentences of many of his co-defendants who, according to Mr. Goodwin, are similarly situated
to him such that he also warrants a sentence reduction. Without exception, any co-defendant
who has received a sentence reduction under § 3582(c)(2) was sentenced pursuant to the
sentencing guidelines and was not subject to a mandatory minimum life sentence.
                                               2
